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                     EXHIBIT 3
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                   IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF DELAWARE

In re:
                                                 Case No. 20-10343 (LSS)
BOY SCOUTS OF AMERICA AND
DELAWARE BSA, LLC,                               Chapter 11
                                                 (Jointly Administered)
              Debtors.



                         DECLARATION OF TYLER H. FOX, ESQ.


  1. My name is Tyler H. Fox.

  2. I am an attorney in Cambridge MA who has been practicing since 1979. Over the last
     thirty or more years, I have specialized in representing victims of sexual abuse and
     assault by priests, doctors, UBER/LYFT, teachers/coaches and employers. ( I was also a
     licensed practicing clinical social worker/therapist for almost twenty years.)


  3. On or around November of 2020, I was engaged to represent several victims/survivors of
     sexual abuse and assault in the Boy Scouts of America, and filed Proof of Claim forms
     for them. I filed such a claim for “D.S.” who was given claim number 93506.


  4. On or around December 2021, for purposes of convenience, D.S. himself electronically
     filed a Ballot in which, as a Claimant, he was required to vote to accept or reject the (at
     that time current) proposed Bankruptcy Plan. He voted to reject the proposed Plan by
     checking the box marked: “NO.”


  5. Not realizing what he was doing or the import or consequences of doing so, he also
     checked a box which indicated that he wanted to accept an “expedited option” to take
     $3,500.00. At that time and now, he had/has no desire to end his claim or limit the
     amount of money he could receive for his suffering abuse at the hands of the Boy Scouts.


  6. Recently, after gaining access to the (Trust) Portal, I saw that according to the database,
     D.S. was listed as having selected the “expedited option,” and accordingly had to submit
     or have submitted for him a completed “Expedited option” Questionnaire by the (then)
     deadline of October 3, 2023.
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  7. This was shocking to me as he had never asked me about the expedited option at any
     time- assuming he even knew that there was such an option- and I had never discussed
     that with him as a choice.

  8.    Based on my understanding of the abuse that he suffered, and my knowledge of other
       BSA claims, as well as my knowledge and experience of sexual assault cases in general,
       his claim was clearly worth much more than $3,500.00 by way of negotiation, mediation,
       arbitration, settlement.


  9. Upon learning of this, I immediately telephoned D. S. and told him what was happening.
     I confirmed with D. S. that he did not want to accept $3,500.00 because he had suffered
     way too much as a result of the abuse to accept such a tiny amount as compensation.

  10. It is my considered legal opinion that D.S.’s claim is worth much more than $3,500.00.
      While it difficult to estimate the value of a claim such as this, based on my past
      experience with sexual assault/abuse cases in general, I estimate is that the value of the
      claim is somewhere in the range of $1 to $2 million.

  11. Based on my understanding of the Matrix created by the plan, I estimate that the value of
      the claim under the Matrix would be a similar amount and fall somewhere in the range of
      $1 to $2 million.


     SIGNED UNDER THE PAINS AND PENALTIES OF PERJURY, THIS TENTH DAY
OF OCTOBER 2023.



                                                            __/s/ Tyler H. Fox_______
                                                              Tyler H. Fox, Esq.
